 Form 416A (12/15)
                                         Form 416A. CAPTION(FULL)

                                      United States Bankruptcy Court
                                                                                           CLRK PHM
                                                    District Of                    20230GT5ANir<'18

In re                                                             j
               [Set [th here all names including married, mai en, and
               trade names used by debtorwithin the last 8 years.]
                                  Debtor
                                                                        Case No.
  Address




  Phone


  Email
                                                                                   -0      08
Last four digits of Social-Security or Individual
Tax-Payer-ldentification(ITIN) No(s)., (ifany):            0&i<&


Employer's Tax Identification No(s). (if any):




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        b^e^A^ o.bouJr cr^tT-oouv \J
 j^ 4o beiY^ ^jwore- <^nor fo e^e.rQe^
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Case 2:23-bk-07084-EPB               Doc 6 Filed 10/05/23 Entered 10/05/23 15:23:18        Desc
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